Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 1 of 119




            Exhibit A
           Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 2 of 119
  BUTB5         *              PUBLIC INFORMATION             *     03-15-2021
PAGE 001        *                  INMATE DATA                *     08:14:47
                                AS OF 03-15-2021

REGNO..: 43487-007 NAME: MAYS, JOSEPH RANDOLPH

                    RESP OF: GIL
                    PHONE..: 304-626-2500    FAX: 304-626-2693
                                             RACE/SEX...: BLACK / MALE
                                             AGE: 56
PROJ REL MT: GOOD CONDUCT TIME RELEASE       PAR ELIG DT: N/A
PROJ REL DT: 07-25-2047                      PAR HEAR DT:




G0002       MORE PAGES TO FOLLOW . . .
           Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 3 of 119
  BUTB5           *              PUBLIC INFORMATION                *     03-15-2021
PAGE 002          *                  INMATE DATA                   *     08:14:47
                                  AS OF 03-15-2021

REGNO..: 43487-007 NAME: MAYS, JOSEPH RANDOLPH

                   RESP OF: GIL
                   PHONE..: 304-626-2500    FAX: 304-626-2693
HOME DETENTION ELIGIBILITY DATE: 01-25-2047

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: 07-25-2047 VIA GCT REL

----------------------CURRENT JUDGMENT/WARRANT NO: 010 ------------------------

COURT OF JURISDICTION...........: DIST OF COLUMBIA, SUPERIOR CRT
DOCKET NUMBER...................: 2009 CF1 006675
JUDGE...........................: FISHER
DATE SENTENCED/PROBATION IMPOSED: 01-14-2011
DATE COMMITTED..................: 02-22-2011
HOW COMMITTED...................: DC SUPERIOR COURT COMT
PROBATION IMPOSED...............: NO

                   FELONY ASSESS    MISDMNR ASSESS FINES             COSTS
NON-COMMITTED.:    $00.00           $00.00         $00.00           $300.00

RESTITUTION...:    PROPERTY:   NO   SERVICES:   NO       AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 621      DC HOMICIDE MURDER
OFF/CHG: 22-2103 MURDER II WHILE AREMED (3X).

 SENTENCE PROCEDURE.............: DC SRAA ADULT SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:    45 YEARS
 TERM OF SUPERVISION............:     5 YEARS
 DATE OF OFFENSE................: 03-21-2009




G0002       MORE PAGES TO FOLLOW . . .
          Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 4 of 119
  BUTB5         *             PUBLIC INFORMATION                *      03-15-2021
PAGE 003 OF 003 *                 INMATE DATA                   *      08:14:47
                               AS OF 03-15-2021

REGNO..: 43487-007 NAME: MAYS, JOSEPH RANDOLPH

                   RESP OF: GIL
                   PHONE..: 304-626-2500    FAX: 304-626-2693
-------------------------CURRENT COMPUTATION NO: 010 --------------------------

COMPUTATION 010 WAS LAST UPDATED ON 04-18-2020 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 02-07-2011 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010

DATE COMPUTATION BEGAN..........: 01-14-2011
TOTAL TERM IN EFFECT............:    45 YEARS
TOTAL TERM IN EFFECT CONVERTED..:    45 YEARS
EARLIEST DATE OF OFFENSE........: 03-21-2009

JAIL CREDIT.....................:   FROM DATE      THRU DATE
                                    03-21-2009     01-13-2011

TOTAL PRIOR CREDIT TIME.........: 664
TOTAL INOPERATIVE TIME..........: 0
TOTAL GCT EARNED AND PROJECTED..: 2430
TOTAL GCT EARNED................: 594
STATUTORY RELEASE DATE PROJECTED: 07-25-2047
ELDERLY OFFENDER TWO THIRDS DATE: 03-21-2039
EXPIRATION FULL TERM DATE.......: 03-20-2054
TIME SERVED.....................:     11 YEARS     11 MONTHS        23 DAYS
PERCENTAGE OF FULL TERM SERVED..: 26.6
PERCENT OF STATUTORY TERM SERVED: 31.2

PROJECTED SATISFACTION DATE.....: 07-25-2047
PROJECTED SATISFACTION METHOD...: GCT REL




S0055       NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
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            Exhibit B
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            Exhibit C
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 11 of 119
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Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 13 of 119
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            Exhibit D
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 17 of 119
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             Exhibit E
       Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 33 of 119



                                                                             1425 New York Avenue N.W.
                                                                                            Suite 11050
                                                                                   Washington, DC 20005


Joseph R. Mays
Register No. 43487-007
FCI
P.O. Box 6000
Glenville, WV 26351-6000


                                                                                              May 18, 2017


Dear Mr. Joseph R. Mays,


      This is to advise you that your administrative appeal from the action of the BOP regarding
Request No. 2017-02957 was received by this Office on 05/12/2017.


         The Office of Information Policy has the responsibility of adjudicating such appeals. In an attempt
to afford each appellant equal and impartial treatment, we have adopted a general practice of assigning
appeals in the approximate order of receipt. Your appeal has been assigned number DOJ-AP-2017-
004187. Please mention this number in any future correspondence to this Office regarding this matter.
Please note that if you provide an e-mail address or another electronic means of communication with your
request or appeal, this Office may respond to your appeal electronically even if you submitted your appeal
to this Office via regular U.S. Mail.


        We will notify you of the decision on your appeal as soon as we can. If you have any questions
about the status of your appeal, you may contact me at (202) 514-3642. If you have submitted your
appeal through FOIAonline, you may also obtain an update on the status of your appeal by logging into
your account.


                                     Sincerely,




                                     Priscilla Jones

                                     Supervisory Administrative Specialist
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 34 of 119




             Exhibit F
      Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 35 of 119

                                                    U.S. Department of Justice
       Office of                                    Office of Information Policy
                                                    Suite 11050
                                                    1425 New York Avenue, NW
                                                    Washington, DC 20530-0001

Telephone: (202) 514-3642




Mr. Joseph Mays
Register No. 43487-007
Federal Correctional Institution                    Re:      Appeal No. DOJ-AP-2017-004187
Post Office Box 6000                                         Request No. 2017-02957
Glenville, WV 26351                                          MWH:PJA

VIA: U.S. Mail

Dear Mr. Mays:

        You appealed from the action of the Federal Bureau of Prisons (BOP) on your Freedom
of Information Act request for access to the following: (i) your request for Transfer/Management
Variable for transfer from Butner to Gilmer; (ii) your UNICOR Activity Log; (iii) your Work
Performance Evaluation Form; and (iv) your Inmate Industrial Employment Action. I note that
your appeal concerns only the adequacy of BOP's search for responsive records.

        After carefully considering your appeal, and as a result of discussions between BOP
personnel and this Office, I am remanding your request to BOP for further review and processing
of records located subsequent to your appeal. If BOP determines that additional records are
releasable, it will send them to you directly, subject to any applicable fees. You may appeal any
future adverse determination made by BOP. If you would like to inquire about the status of this
remand, please contact BOP directly.

       If you have any questions regarding the action this Office has taken on your appeal, you
may contact this Office's FOIA Public Liaison for your appeal. Specifically, you may speak with
the undersigned agency official by calling (202) 514-3642.

       If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

                                                    Sincerely,
                                                                                             8/9/2017



                                                      X
                                                      Matthew Hurd, Associate Chief, for
                                                      Sean O'Neill, Chief, Administrative Appeals ...
                                                      Signed by: MATTHEW HURD
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            Exhibit G
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                                                     U.S. Department of Justice
       Office of                                     Office of Information Policy
                                                     Suite 11050
                                                     1425 New York Avenue, NW
                                                     Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                       August 9, 2017

ADMINISTRATIVE APPEAL REMAND MEMORANDUM
TO:            Eugene Baime
               Supervisory Attorney-Advisor
               FOIA/PA Section
               Office of General Counsel
               Federal Bureau of Prisons

FROM:          Melanie Ann Pustay
               Director

               Sean R. O'Neill
               Chief, Administrative Appeals Staff

SUBJECT:       Instructions for Processing Administrative Appeal Following Remand

  Request No. 2017-02957   Requester's Name: Joseph Mays
  Appeal No. DOJ-AP-2017-  Subject of Request:
  004187                      1. Copy of a Form 409 that describes the rationale of why
                                  he was placed in administrative detention and
                                  subsequently transferred.
                              2. UNICOR maintenance activity log from 2016
                              3. UNICOR/FPI Form 44 (yearly chronological FPI work
                                  performance evaluation form)
                              4. UNICOR/FPI Form 96 (inmate industrial employment
                                  action)
_____________________________________________________________________________

        The administrative appeal referenced above has been remanded by this Office to the
Federal Bureau of Prisons for further search of potentially responsive records. At this time,
please reopen this file and perform the following actions:

   1. Please process the responsive records located subsequent to the appeal and produce all
      releasable records directly to the requester.

    The OIP attorney reviewing this administrative appeal coordinated this action through
Sharon Wahl with the FOIA Section. If you have any further questions concerning this action,
please do not hesitate to contact Patrick Austin, at 202-305-0384, in this Office.
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            Exhibit H
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              Exhibit I
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 52 of 119
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             Exhibit J
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            Exhibit K
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 64 of 119
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             Exhibit L
       Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 78 of 119



                                                                             1425 New York Avenue N.W.
                                                                                            Suite 11050
                                                                                   Washington, DC 20005


Joseph R. Mays
Register No. 43487-007
FCI
P.O. Box 6000
Glenville, WV 26351-6000


                                                                                             June 20, 2017


Dear Mr. Joseph R. Mays,


       This is to advise you that your administrative appeal from the action of the BOP
regarding Request No. 2017-04802 was received by this Office on 06/14/2017.


         The Office of Information Policy has the responsibility of adjudicating such appeals. In an attempt
to afford each appellant equal and impartial treatment, we have adopted a general practice of assigning
appeals in the approximate order of receipt. Your appeal has been assigned number DOJ-AP-2017-
004799. Please mention this number in any future correspondence to this Office regarding this matter.
Please note that if you provide an e-mail address or another electronic means of communication with your
request or appeal, this Office may respond to your appeal electronically even if you submitted your appeal
to this Office via regular U.S. Mail.


        We will notify you of the decision on your appeal as soon as we can. If you have any questions
about the status of your appeal, you may contact me at (202) 514-3642. If you have submitted your
appeal through FOIAonline, you may also obtain an update on the status of your appeal by logging into
your account.


                                     Sincerely,




                                     Priscilla Jones

                                     Supervisory Administrative Specialist
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 79 of 119




           Exhibit M
      Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 80 of 119

                                                     U.S. Department of Justice
       Office of                                     Office of Information Policy
                                                     Suite 11050
                                                     1425 New York Avenue, NW
                                                     Washington, DC 20530-0001

Telephone: (202) 514-3642




Mr. Joseph R. Mays
Register No. 43487-007
Federal Correctional Institution                      Re:      Appeal No. DOJ-AP-2017-004799
Post Office Box 6000                                           Request No. 2017-04802
Glenville, WV 26351                                            MWH:MTC

VIA: U.S. Mail

Dear Mr. Mays:

        You appealed from the action of the Federal Bureau of Prisons (BOP) on your Freedom
of Information Act request for access to certain records concerning yourself and an incident that
occurred on August 11, 2016.

        After carefully considering your appeal, and as a result of discussions between BOP
personnel and this Office, I am remanding your request to BOP for a further processing of the
responsive records and for a further search for additional responsive records. If BOP locates
additional records and determines that additional records are releasable, it will send them to you
directly, subject to any applicable fees. You may appeal any future adverse determination made
by BOP. If you would like to inquire about the status of this remand, please contact BOP
directly.

       If you have any questions regarding the action this Office has taken on your appeal, you
may contact this Office's FOIA Public Liaison for your appeal. Specifically, you may speak with
the undersigned agency official by calling (202) 514-3642.

       If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

                                                     Sincerely,
                                                                                            9/26/2017



                                                       X
                                                       Matthew Hurd, Associate Chief, for
                                                       Sean O'Neill, Chief, Administrative Appeals ...
                                                       Signed by: MATTHEW HURD
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 81 of 119




            Exhibit N
      Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 82 of 119

                                                    U.S. Department of Justice
       Office of                                    Office of Information Policy
                                                    Suite 11050
                                                    1425 New York Avenue, NW
                                                    Washington, DC 20530-0001


Telephone: (202) 514-3642                           September 26, 2017

ADMINISTRATIVE APPEAL MEMORANDUM

TO:           Eugene Baime
              Supervisory Attorney-Advisor
              FOIA/PA Section
              Office of General Counsel
              Federal Bureau of Prisons

FROM:         Melanie Ann Pustay
              Director

              Sean R. O'Neill
              Chief, Administrative Appeals Staff

SUBJECT:      Instructions for Processing Administrative Appeal

  Request No. 2017-04802                 Requester's Name: Joseph R. Mays
  Appeal No. DOJ-AP-2017-004799          Subject of Request: Self - incident that occurred on
                                         August 11, 2016.



        The administrative appeal referenced above has been sent by this Office to BOP for a
search for (and processing of) responsive records. At this time, please reopen this file and
perform the following actions, subject to any applicable fees:

       1. Conduct an additional search for the two records identified as pdf attachments to the
          Incident Report – "staff memos" and "flyer circulating."
       2. Reconsider the withholdings to the Incident Report, particularly whether Exemption 5
          might be properly applied to the conclusion and recommendation paragraphs, and
          whether there is any information that can be further segregated for release or if there
          is an overall reason why Exemption 7F is applicable to nearly the entirety of the
          report.

       The OIP attorney reviewing this administrative appeal coordinated this action through
Sharon Wahl of the FCI Beckley Consolidated Legal Center. If you have any further questions
concerning this action, please do not hesitate to contact Marilyn Cunningham at 202-514-5449.
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            Exhibit O
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             Exhibit P
Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 96 of 119
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             Exhibit Q
     Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 117 of 119

                                                     U.S. Department of Justice
       Office of                                     Office of Information Policy
                                                     Suite 11050
                                                     1425 New York Avenue, NW
                                                     Washington, DC 20530-0001

Telephone: (202) 514-3642




Mr. Joseph R. Mays
Register No. 43487-007
Federal Correctional Institution                     Re:     Appeal No. DOJ-AP-2018-001767
Post Office Box 6000                                         Request No. 2017-07249
Glenville, WV 26351                                          DRC:MTC

VIA: U.S. Mail

Dear Mr. Mays:

      You appealed from the action of the Federal Bureau of Prisons (BOP) on your remanded
Freedom of Information Act request for access to records concerning an incident that occurred
on August 11, 2016.

       After carefully considering your appeal, and as a result of discussions between BOP
personnel and this Office, I am releasing additional portions of one page in part to you, copies of
which I have enclosed. I am otherwise affirming, on partly modified grounds, BOP's action on
your request.

        In order to provide you with the greatest possible access to responsive records, your
request was reviewed under both the Privacy Act of 1974 and the FOIA. I have determined that
the records responsive to your request are exempt from the access provision of the Privacy Act.
See 5 U.S.C. § 552a(j)(2); see also 28 C.F.R. § 16.97 (2017). For this reason, I have reviewed
your appeal under the FOIA.

         The FOIA provides for disclosure of many agency records. At the same time, Congress
included in the FOIA nine exemptions from disclosure that provide protection for important
interests such as personal privacy, privileged communications, and certain law enforcement
activities. BOP properly withheld certain information because it is protected from disclosure
under the FOIA pursuant to:

       5 U.S.C. § 552(b)(5), which concerns certain inter- and intra-agency records
       protected by the deliberative process privilege;

       5 U.S.C. § 552(b)(6), which concerns material the release of which would
       constitute a clearly unwarranted invasion of the personal privacy of third parties;
     Case 1:20-cv-02197-CKK Document 22-4 Filed 03/19/21 Page 118 of 119



                                               -2-

       5 U.S.C. § 552(b)(7)(C), which concerns records or information compiled for law
       enforcement purposes the release of which could reasonably be expected to
       constitute an unwarranted invasion of the personal privacy of third parties; and

       5 U.S.C. § 552(b)(7)(F), which concerns records or information compiled for law
       enforcement purposes the release of which could reasonably be expected to
       endanger the life or personal safety of an individual.

Please be advised that for each of these exemptions, it is reasonably foreseeable that disclosure
of the information withheld would harm the interests protected by these exemptions.

        As to your appeal concerning the adequacy of BOP's search for responsive records
subject to the FOIA, I have determined that BOP's response was correct and that it conducted an
adequate, reasonable search for such records. Please be advised that BOP does not maintain
records that document when an inmate accesses his UNICOR email account nor when such an
account may have been cancelled.

       Please be advised that this Office's decision was made only after a full review of this
matter. Your appeal was assigned to an attorney with this Office who thoroughly reviewed and
analyzed your appeal, your underlying request, and the action of BOP in response to your
request.

       If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

         For your information, the Office of Government Information Services (OGIS) offers
mediation services to resolve disputes between FOIA requesters and Federal agencies as a non-
exclusive alternative to litigation. Using OGIS services does not affect your right to pursue
litigation. The contact information for OGIS is as follows: Office of Government Information
Services, National Archives and Records Administration, Room 2510, 8601 Adelphi Road,
College Park, Maryland 20740-6001; email at ogis@nara.gov; telephone at 202-741-5770; toll
free at 1-877-684-6448; or facsimile at 202-741-5769. If you have any questions regarding the
action this Office has taken on your appeal, you may contact this Office's FOIA Public Liaison
for your appeal. Specifically, you may speak with the undersigned agency official by calling
(202) 514-3642.

                                                     Sincerely,
                                                                                             8/9/2018




                                                       X
                                                       Sean R. O'Neill
                                                       Chief, Administrative Appeals Staff
                                                       Signed by: OIP
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    (b) (6), (b) (7)(C)

(b) (6), (b) (7)(C)
